      Case 2:15-cv-01045-RFB-BNW Document 765 Filed 07/17/20 Page 1 of 4




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13
                                                  Attorneys for Defendant Zuffa, LLC, d/b/a
14                                                Ultimate Fighting Championship and UFC

15

16                              UNITED STATES DISTRICT COURT

17                                      DISTRICT OF NEVADA

18

19   Cung Le, Nathan Quarry, Jon Fitch, Brandon      Case No.: 2:15-cv-01045-RFB-BNW
     Vera, Luis Javier Vazquez, and Kyle
20   Kingsbury, on behalf of themselves and all
     others similarly situated,
21                                                   DEFENDANT ZUFFA, LLC’S NOTICE
                          Plaintiffs,                OF CHANGE OF ADDRESS
22
            v.
23
     Zuffa, LLC, d/b/a Ultimate Fighting
24   Championship and UFC,

25                        Defendant.

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     ZUFFA, LLC’S NOTICE OF CHANGE OF                      Case No.: 2:15-cv-01045-RFB-BNW
     ADDRESS
       Case 2:15-cv-01045-RFB-BNW Document 765 Filed 07/17/20 Page 2 of 4




 1   TO ALL PARIES AND THE CLERK OF THE COURT:

 2          Pursuant to L.R. IA 3-1, the undersigned attorney of record for Defendant Zuffa, LLC files

 3   this Notice of Change of Address and requests the Court’s docket in the above-captioned matter be

 4   updated accordingly.

 5          PLEASE TAKE NOTICE effective July 17, 2020, the address and contact information for

 6   Zuffa, LLC’s counsel William A. Isaacson, previously of Boies Schiller Flexner LLP, has changed

 7   to:

 8                 William A. Isaacson
                   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
 9                 2001 K Street, NW
                   Washington, DC 20006
10                 Telephone: (202) 223-7300
                   Facsimile: (202) 223-7420
11                 Email: wisaacson@paulweiss.com
12          Please note that the addresses and contact information for Zuffa’s other counsel of record
13   remain unchanged.
14

15   Dated: July 17, 2020                        Respectfully Submitted,
16                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
17

18                                               By: /s/ William A. Isaacson
                                                 WILLIAM A. ISAACSON (Pro hac vice)
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       Case 2:15-cv-01045-RFB-BNW Document 765 Filed 07/17/20 Page 4 of 4




 1                                       CERTIFICATE OF SERVICE

 2           The undersigned hereby certifies that the foregoing Defendant Zuffa, LLC’s Notice of

 3   Change of Address was served on July 17, 2020 via the Court’s CM/ECF electronic filing system

 4   addressed to all parties on the e-service list.

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 6                                                     /s/ William A. Isaacson
                                                       William A. Isaacson
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